      Case 25-04011         Doc 3     Filed 04/15/25 Entered 04/15/25 09:39:40                  Summons and
                                              Notice Pg 1 of 4
                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Missouri
                                               Eastern Division
In re:
   23andMe Holding Co., et al.                     Debtor(s)      Bankruptcy Case No.:25−40976 − B357
   23andMe Holding Co.                           Plaintiff(s)     Chapter: 11
   23andMe, Inc.
   J.R.                                        Defendant(s)       Adversary Proceeding No.:25−04011 − B357
   M.M.
        All documents regarding this matter must be identified by both Adversary and Bankruptcy Case numbers
                            SUMMONS AND NOTICE OF PRE−TRIAL CONFERENCE
                                         IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons
to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United
States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

               Address of the Clerk:
                   United States Bankruptcy Court
                   Eastern District of Missouri
                   111 South Tenth Street, 4th Floor
                   St. Louis, MO 63102
At the same time, you must also serve a copy of the motion or answer on plaintiff's attorney.
               Name and Address of Plaintiff's Attorney:
                   William A. Clareman
                   1285 Avenue of the Americas
                   New York, NY 10019
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pre−trial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.

       Address:                           Courtroom
          Unites States Bankruptcy Court       5 North
          Thomas F. Eagleton Courthouse
          111 South Tenth Street          Date and Time
          St. Louis, MO 63102                 June 3, 2025 01:30 PM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
FAILURE OF THE PLAINTIFF TO APPEAR ON THE DATE AND TIME SET FORTH IN THIS
SUMMONS AND NOTICE MAY RESULT IN DISMISSAL OF THIS ADVERSARY PROCEEDING.



                                                                       Dana C. McWay
                                                            ___________________________________
                                                                    Clerk of the Bankruptcy Court



                                                                         Craig Spidle
                                                            By:_________________________________
                                                                         Deputy Clerk
            April 15, 2025
___________________________________
                 Date
                                                                                                    Form B 2500B (Rev 11/19)
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                                           CERTIFICATE OF SERVICE
I, ___________________________________, certify that service of this summons and a copy of the
                (name)
complaint was made ______________________ by:
                            (date)

   Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:




   Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:




   Residence Service: By leaving the process with the following adult at:




    Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed
to the following officer of the defendant at:




   Publication: The defendant was served as follows: [Describe briefly]




    State Law: The defendant was served pursuant to the laws of the State of _______________________________
as follows: [Describe briefly]




If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and at all times during the service of process was, not less than 18 years of age and not a party to the matter
concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.

      ____________________________________                         ____________________________________
                      Date                                                       Signature
         Print Name

         Business Address

         City                                          State                          Zip
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                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Missouri
                                              Eastern Division

In re 23andMe Holding Co., et al.                           )
      Debtor(s)                                             )    Case No.: 25−40976 − B357
                                                            )
       23andMe Holding Co.                                  )    Chapter 11
       23andMe, Inc.                                        )
       Plaintiff(s)                                         )    Adversary Case No. 25−04011 − B357
                                                            )
       v.                                                   )
                                                            )
       J.R.                                                 )
       M.M.                                                 )
       Defendant(s)                                         )


            CONSENT TO ENTRY OF JUDGMENT AND ORDERS BY BANKRUPTCY COURT


    Each party to the above−captioned adversary proceeding is to select one of the following two options indicating
whether the party will consent or will not consent to having the Bankruptcy Court conduct any and all proceedings
in this case, including trial and entry of orders and judgment in accordance with the provisions of Title 28 U.S.C.
Section 157(b)(1) and/or (c)(2).

IMPORTANT: File this form with the Clerk's office promptly, but not later than 14 days after your
           appearance, answer or responsive pleading, or, in a removed case in which you have
           already appeared, not later than 14 days after the service of the notice of removal.

                  FAILURE TO FILE THIS FORM SHALL BE CONSTRUED AS CONSENT TO
                  ENTRY OF ORDERS AND JUDGMENT BY THE BANKRUPTCY COURT.

CHECK ONE:
                  The party or parties listed below consent to entry of judgment and orders by the
                  Bankruptcy Court in this adversary proceeding. (Note: Selecting this option does not
                  affect your ability to challenge this court's subject matter or personal jurisdiction).

                  The party or parties listed below do not consent to the entry of judgment and orders by
                  the Bankruptcy Court in this adversary proceeding.

                  Name of Party or Parties (please type or print):
                  _______________________________________________________________________
                  _______________________________________________________________________
                  _______________________________________________________________________


Submitted by:       _______________________________________ Dated: _____________________
Print Name/Bar No.: ___________________________________________________________________
Address:            ___________________________________________________________________
                    ___________________________________________________________________
Telephone Number: ___________________________________________________________________
Fax Number:         ___________________________________________________________________
Email Address:      ___________________________________________________________________


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                                         CERTIFICATE OF SERVICE
                                     (Complete each service method that applies)



    I. I certify that a true and correct copy of the Consent to Entry of Judgment was filed on (date of service)
_______________________ with the United Sates Bankruptcy Court, and has been served on the parties in interest
via e−mail by the Court's CM/ECF System as listed on the Court's Electronic Mail Notice List.


                                              /s/_________________________________




    II. I certify that a true and correct copy of the Consent to Entry of Judgment was filed with the United States
Bankruptcy Court and has been served by United States mail service, first class postage fully pre−paid, addressed to
the parties listed below on (date of Service) _______________________:


                                              /s/_________________________________

(insert names and addresses of the parties to receive a copy of this document or attach separate service list)




    III. I certify that a true and correct copy of the Consent to Entry of Judgment was filed with the United States
Bankruptcy Court and has been served on the following Insured Depository Institutions pursuant to Fed. R. Bankr.
P. 7004(h), or on the United States, or any of its officers or agencies pursuant to Fed. R. Bank. P. 7004(b)(4) or (5)
on (date of service) _______________________ by (insert certified, first class mail, or other type of authorized
service) __________________________ addressed to the following persons:


                                              /s/_________________________________

(insert names and addresses of the parties to receive a copy of this document or attach separate service list)
